
Upon the hearing at this term, sundry objections were taken to the laying out the way by the selectmen, and to the regularity of the town-meeting at which it was accepted ; but the point on which the question was determined was, that it did not appear, from any evidence, that the doings of the selectmen relating to the laying out the way had been recorded, which the Court held necessary; and for this cause the verdict was set aside, and a verdict of not guilty entered. (a)

 Vide Boston vs. Brazer, 11 Mass. Rep. 447. — Hinckley &amp; Al. vs. Hastings, 2 Pick. 162. — Kean vs. Stetson, 5 Pick. 492. — Commonwealth vs. Low, 3 Pick. 408. — Commonwealth vs. Newbury, 2 Pick. 151.

